                      CASE 0:20-cv-02195-NEB-BRT Doc. 45-1 Filed 12/02/20 Page 1 of 1
AO 85 (Rev. 01/09, Locally Rev. 03/12) Notice and Consent – Exercise of Jurisdiction by a United States Magistrate Judge



                                     UNITED STATES DISTRICT COURT
                                                                         for the
                                                                District of Minnesota


                                 Plaintiff
                                    v.                                                 Case Number:

                                Defendant



                    NOTICE OF AVAILABILITY OF A UNITED STATES MAGISTRATE JUDGE
                                     TO EXERCISE JURISDICTION

         Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct
all proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The
judgment may then be appealed directly to the United States court of appeals like any other judgment of this court. A
magistrate judge may exercise this authority only if all parties voluntarily consent.

        You may consent to have your case referred to a magistrate judge, or you may withhold your consent without
adverse substantive consequences. The name of any party withholding consent will not be revealed to any judge who
may otherwise be involved with your case.

   CONSENT TO THE EXERCISE OF JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE

        In accordance with provisions of 28 U.S.C §636(c) and Fed.R.Civ.P. 73, the parties in this case consent to have a
United States magistrate judge conduct any and all proceedings in this case, including the trial, order the entry of a final
judgment, and conduct all post-judgment proceedings.


                  Party Represented                                                  Signatures                            Date




         NOTE: Please see "CONSENT TO DISPOSITION OF CASE BY MAGISTRATE" in the Civil ECF Procedure
Guide for instructions on filing this form. Generally, if joint, the form shall be filed electronically in ECF by one person on
behalf of all parties under “Other Documents” as “Joint Consent to Proceed before Magistrate before 8th Circuit.” If
separate, return the executed form to the Calendar Clerk by e-mail pursuant to the specific instructions in the "CONSENT
TO DISPOSITION OF CASE BY MAGISTRATE" section of the procedure guide.




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